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                               CERTIFICATE OF SERVICE

       I hereby certify that on April 14, 2011, I caused a true and correct copy of the foregoing,

Notice of Voluntary Dismissal of Plaintiff’s Claims Against Defendant TAP Pharmaceutical

Products Inc. n/k/a Takeda Pharmaceuticals North America, Inc., to be served on counsel of

record for each party through the Court’s Electronic Case Filing System and via LexisNexis File

& Serve.


                                                              /s/ James Carroll /
                                                            KIRBY McINERNEY LLP




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